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                                                                   Matthew L. Rollin (SBN 332631)
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                                                                   SRIPLAW, P.A.
                                                               2   8730 Wilshire Boulevard
                                                                   Suite 350
                                                               3   Beverly Hills, California 90211
                                                               4   323.452.5600 – Telephone
                                                                   561.404.4353 – Facsimile
                                                               5   Matthew.rollin@sriplaw.com
                                                               6 Counsel for Plaintiff
                                                               7 BETTY’S BEST, INC.
                                                               8                                  UNITED STATES DISTRICT COURT
          CALIFORNIA ◆GEORGIA ◆FLORIDA ◆TENNESSEE ◆NEW YORK




                                                               9                               NORTHERN DISTRICT OF CALIFORNIA
                                                              10   BETTY'S BEST, INC.,                                  CASE NO.: 3:23-cv-04716
                                                              11
                                                                                           Plaintiff,                   COMPLAINT FOR INTELLECTUAL
                                                              12                                                        PROPERTY INFRINGEMENT
                                                                   v.                                                   (1) TRADEMARK COUNTERFEITING AND
                                                              13
                                                                                                                        INFRINGEMENT, 15 U.S.C. § 1114;
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                                                              14   THE FACEBOOK ADVERTISERS LISTED                      (2) FALSE DESIGNATION OF ORIGIN, 15
                                                                   ON SCHEDULE A,                                       U.S.C. § 1125(a);
                                                              15                  Defendants.                           (3) COMMON LAW TRADEMARK
                                                                                                                        INFRINGEMENT;
                                                              16
                                                                                                                        (4) UNFAIR COMPETITION, CAL. BUS. &
                                                              17                                                        PROF. CODE § 17200
                                                                                                                        (5) COPYRIGHT INFRINGEMENT, 17
                                                              18                                                        U.S.C. § 501;
                                                              19                                                        (6) PATENT INFRINGEMENT, 35 U.S.C. §
                                                                                                                        271
                                                              20
                                                                                                                        (INJUNCTIVE RELIEF DEMANDED)
                                                              21
                                                              22
                                                                          Plaintiff BETTY'S BEST, INC. (“Betty's Best”) by and through its undersigned counsel,
                                                              23
                                                                   hereby brings this Complaint against Defendants FACEBOOK ADVERTISERS LISTED ON
                                                              24
                                                                   SCHEDULE A for damages and injunctive relief (collectively “Facebook Advertisers” or
                                                              25
                                                                   “Defendants”), who are promoting, selling, offering for sale and distributing goods bearing
                                                              26
                                                                   counterfeits and confusingly similar imitations of Plaintiff's intellectual property within this district,
                                                              27
                                                                   and who are advertising, selling, offering for sale and distributing goods using counterfeits and
                                                              28



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                                                               1 confusingly similar imitations of Plaintiff's intellectual property within this district the on the
                                                               2 Facebook platform that Meta Platforms, Inc. (“Meta”) operates in this district, and in support thereof
                                                               3 states as follows:
                                                               4                                      SUMMARY OF THE ACTION
                                                               5          1.      Plaintiff Betty's Best brings this action for federal trademark counterfeiting and
                                                               6 infringement, false designation of origin, common law unfair competition, and common law
                                                               7 trademark infringement pursuant to 15 U.S.C. §§ 1114, 1116, and 1125(a), The All Writs Act, 28
                                                               8 U.S.C. § 1651(a), and California’s statutory and common law.
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                                                               9          2.      Plaintiff Betty's Best brings this action for willful copyright infringement and piracy
                                                              10 committed for purposes of commercial advantage or private financial gain by the reproduction or
                                                              11 distribution, including by electronic means, of one or more copies of copyrighted works in violation
                                                              12 of 17 U.S.C. §501, and for all the remedies available under the Copyright Act 17 U.S.C. § 101, et
                                                              13 seq., and The All Writs Act, 28 U.S.C. § 1651(a).
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                                                              14          3.      Plaintiff Betty's Best brings this action for willful design patent infringement under
                                                              15 35 U.S.C. §271 committed in violation of the Plaintiff’s exclusive rights to make, use, offer to sell,
                                                              16 or sell Plaintiff’s patented design, within the United States or for importation into the United States
                                                              17 any patented design during the term of the patent-in-suit, and for all the remedies available under 35
                                                              18 U.S.C. §§ 283, 284, 285, and 289.
                                                              19                                      JURISDICTION AND VENUE
                                                              20          4.      This Court has original subject matter jurisdiction over this action pursuant to 28
                                                              21 U.S.C. §§ 1331 and 1338.
                                                              22          5.      This Court also has subject matter jurisdiction over this action pursuant to 15 U.S.C.
                                                              23 § 1121, 17 U.S.C. § 301.
                                                              24          6.      This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over the state
                                                              25 law claims because those claims are so related to the federal claims that they form part of the same
                                                              26 case or controversy.
                                                              27          7.      Defendants are subject to personal jurisdiction in California and jurisdiction is proper
                                                              28 in this district court.



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                                                               1          8.      Jurisdiction is proper in California because defendants are transacting business within
                                                               2 California by using the Facebook platform that Meta operates from within California to (a) commit
                                                               3 acts of infringement, and (b) profit from acts of infringement.
                                                               4          9.      Jurisdiction is proper in California because defendants committed tortious acts within
                                                               5 California by using the Facebook platform that Meta operates from within California to (a) commit
                                                               6 acts of infringement, and (b) profit from acts of infringement.
                                                               7          10.     Jurisdiction is proper in California because defendants caused Plaintiff to suffer a
                                                               8 tortious injury in this state caused by an act or omission outside this state. The acts or omissions that
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                                                               9 the defendants’ committed outside the state consisted of by using the Facebook platform that Meta
                                                              10 operates from within California to (a) commit acts of infringement, and (b) profit from acts of
                                                              11 infringement. All these acts caused Plaintiff to suffer tortious injury in California.
                                                              12          11.     Defendants have sufficient minimum contacts with the state of California, there is a
                                                              13 direct connection between the defendants’ tortious acts and the state of California, and the exercise
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                                                              14 of personal jurisdiction over the defendants complies with the Due Process Clause of the United
                                                              15 States Constitution.
                                                              16          12.     Defendants are subject to personal jurisdiction in this district pursuant to Federal Rule
                                                              17 of Civil Procedure 4(k)(2) because (i) defendants are not subject to jurisdiction in any state’s court of
                                                              18 general jurisdiction; and (ii) exercising jurisdiction is consistent with the United States Constitution
                                                              19 and laws.
                                                              20          13.     Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a) and 17
                                                              21 U.S.C. § 512(g)(3)(D) because the events giving rise to the claims occurred in this district,
                                                              22 defendants engaged in infringement in this district, defendant are subject to personal jurisdiction in
                                                              23 this district, and because defendants consented to this venue when defendants provided the
                                                              24 counternotification(s) referred to herein because the service provider provided with the
                                                              25 counternotification(s) can be found in this judicial district.
                                                              26                                                PLAINTIFF
                                                              27          14.     Betty's Best is a California Corporation with its principal place of business in Santa
                                                              28 Ynez, California.



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                                                               1           15.    Betty's Best is the maker of the StripHair Gentle Groomer, a therapeutic brush for
                                                               2 horses and dogs.
                                                               3           16.    Betty's Best’s products are sold through hundreds of authorized retailers in the United
                                                               4 States and many countries like United Kingdom and Australia, listed on the StripHair.com Store
                                                               5 Locator Map at https://striphair.com/pages/retail-store-locator, its own website
                                                               6 https://striphair.com/collections/all-products, Amazon.com, and other authorized retailers.
                                                               7           17.    Betty's Best owns the trademarks, copyrights, and design patent described below that
                                                               8 are the subject of this action in United States; as well registrations claiming protection for the
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                                                               9 product StripHair Gentle Groomer’s design features in European Union and Australia, following the
                                                              10 scope of its commercial activities extended outside the United States.
                                                              11           18.    Plaintiff offers for sale and sells its products within the state of California, including
                                                              12 this district, and throughout the United States.
                                                              13           19.    Like many other intellectual property rights owners, Plaintiff suffers ongoing daily
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                                                              14 and sustained violations of its intellectual property rights at the hands of counterfeiters and
                                                              15 infringers, such as Defendants herein.
                                                              16           20.    Plaintiff is harmed, the consuming public is duped and confused, and the Defendants
                                                              17 earn substantial profits in connection with the infringing conduct.
                                                              18           21.    In order to combat the harm caused by the combined actions of Defendants and others
                                                              19 engaging in similar infringing conduct, Plaintiff expends significant resources in connection with its
                                                              20 intellectual property enforcement efforts, including legal fees and investigative fees.
                                                              21           22.    The recent explosion of infringement over the Internet has created an environment
                                                              22 that requires companies like Plaintiff to expend significant time and money across a wide spectrum
                                                              23 of efforts in order to protect both consumers and itself from the ill effects of infringement of
                                                              24 Plaintiff’s intellectual property rights, including consumer confusion and the erosion of Plaintiff’s
                                                              25 brands.
                                                              26 ///
                                                              27 ///
                                                              28 ///



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                                                               1                       PLAINTIFF’S INTELLECTUAL PROPERTY RIGHTS
                                                               2          23.     Plaintiff created and sells unique patented grooming tools under the federally
                                                               3 registered trademarks STRIPHAIR and THE GENTLE GROOMER (collectively the “Betty's Best
                                                               4 Marks”), including the first multi-purpose grooming tool of its kind, known as the "6-in-1 Shedding
                                                               5 Grooming Massage brush" for horses and pets that can be used in six ways to shed, groom, shine,
                                                               6 shampoo, scrape and massage. The StripHair Gentle Groomer is ideal for short-haired animals
                                                               7 because it will not harm the skin, but it will also shed out a thick hairy coat in the spring-time
                                                               8 molting season while providing a therapeutic massage and adding shine to the coat. It’s safe to use
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                                                               9 everywhere, even the face and legs. The material used to make the StripHair Gentle Groomer is
                                                              10 perfectly balanced to achieve outstanding durability, flexibility, cleanliness, sun protection, and just
                                                              11 the perfect amount of grip.
                                                              12          24.     Plaintiff is the owner of all rights in and to the Betty's Best Marks STRIPHAIR and
                                                              13 THE GENTLE GROOMER (Standard Characters) for “grooming tools for pets, namely, combs and
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                                                              14 brushes; Currycombs” in International Class 21 shown in the table below.
                                                                                                                       First Use in
                                                              15       Mark         Reg. No.      IC      First Use                       Reg. Date             Exhibit
                                                                                                                        Commerce
                                                              16
                                                                    STRIPHAIR        5072866       21    10/01/2014     12/16/2014       11/01/2016                1A
                                                              17
                                                                   THE GENTLE        5328641       21       2015           2015          11/07/2017                1B
                                                              18    GROOMER

                                                              19
                                                                          25.     The Betty's Best Marks are valid and registered on the Principal Register of the
                                                              20
                                                                   United States Patent and Trademark Office and shown in Composite Exhibit 1.
                                                              21
                                                                          26.     The STRIPHAIR Mark is incontestable.
                                                              22
                                                                          27.     The Betty's Best Marks are used in connection with the manufacture and distribution
                                                              23
                                                                   of Plaintiff’s high-quality and unique patented grooming tools.
                                                              24
                                                                          28.     The Betty's Best Marks are displayed directly on top of Plaintiff’s products and on
                                                              25
                                                                   different sides of the packaging used for selling the products. Shown below are the Betty's Best
                                                              26
                                                                   Marks as they are used in relation with Plaintiff’s products and its packaging.
                                                              27
                                                              28



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                                                              12
                                                                            29.   The Betty's Best Marks have been used in interstate commerce to identify and
                                                              13
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                                                                   distinguish Plaintiff’s high-quality and unique patented grooming tools for an extended period of
                                                              14
                                                                   time.
                                                              15
                                                                            30.   The Betty's Best Marks have been used by Plaintiff long prior in time to Defendants’
                                                              16
                                                                   use of copies of those trademarks.
                                                              17
                                                                            31.   The Betty's Best Marks have never been assigned or licensed to any of the
                                                              18
                                                                   Defendants.
                                                              19
                                                                            32.   The Betty's Best Marks are a symbols of Plaintiff’s quality goods, reputation and
                                                              20
                                                                   goodwill and have never been abandoned.
                                                              21
                                                                            33.   Plaintiff has carefully monitored and policed the use of the Betty's Best Marks.
                                                              22
                                                                            34.   The Betty's Best Marks are well known and famous (as that term is used in 15 U.S.C.
                                                              23
                                                                   §1125(c)(1)) and have been for many years.
                                                              24
                                                                            35.   Plaintiff has expended substantial time, money and other resources developing,
                                                              25
                                                                   advertising and otherwise promoting the Betty's Best Marks in connection with Betty's Best’s
                                                              26
                                                                   products. Betty's Best’s average marketing and promotional investments are over $225,000 per year.
                                                              27
                                                              28



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                                                               1          36.     Plaintiff has extensively used, advertised, and promoted the Betty's Best Marks in the
                                                               2 United States in association with the sale of high-quality and unique patented grooming tools.
                                                               3          37.     Plaintiff has spent substantial resources promoting the Betty's Best Marks and
                                                               4 grooming tools bearing or sold under those marks.
                                                               5          38.     Sales of products bearing or sold under the Betty's Best Marks generated $1.6M
                                                               6 (USD) in 2021.
                                                               7          39.     As a result of Plaintiff’s efforts, members of the consuming public readily identify
                                                               8 merchandise bearing or sold under the Betty's Best Marks as being high-quality and unique patented
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                                                               9 grooming tools sponsored and approved by Plaintiff.
                                                              10          40.     Accordingly, the Betty's Best Marks have achieved secondary meaning as identifiers
                                                              11 of high-quality and unique patented grooming tools.
                                                              12          41.     Genuine grooming tools bearing or sold under the Betty's Best Marks are widely
                                                              13 legitimately advertised and promoted by Plaintiff, its authorized distributors, and unrelated third
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                                                              14 parties via the Internet.
                                                              15          42.     Visibility on the Internet, particularly via Internet search engines such as Google,
                                                              16 Yahoo!, and Bing has become increasingly important to Plaintiff’s overall marketing and consumer
                                                              17 education efforts.
                                                              18          43.     Thus, Plaintiff expends significant monetary resources on Internet marketing and
                                                              19 consumer education, including search engine optimization (“SEO”) strategies.
                                                              20          44.     Plaintiff’s SEO strategies allow Plaintiff and its authorized retailers to fairly and
                                                              21 legitimately educate consumers about the value associated with Plaintiff’s products and the goods
                                                              22 marked with the Betty's Best Marks.
                                                              23          45.     Plaintiff advertises, markets, promotes, and sells its products under Betty's Best
                                                              24 Marks using photographs, videos, and through a website that are protected by copyright and
                                                              25 registered with the Copyright Office (collectively the “Works”).
                                                              26          46.     Plaintiff’s photographs are duly registered with the Register of Copyrights as visual
                                                              27 materials as shown in the table below. True and correct copies of the Certificates of Registration and
                                                              28 the photographs they apply to are attached hereto as Composite Exhibit 2.



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                                                               1             Copyright Title and Description                  Reg. No.         Reg. Date      Exhibit
                                                               2    StripHair Product Pictures 2020 (group of 10            VA 2-299-367      05/12/2022         2A
                                                               3    photographs)

                                                               4    StripHair Product Pictures 2019 (group of 7             VA 2-300-902      05/19/2022         2B
                                                                    photographs)
                                                               5
                                                                    StripHair Product Pictures 2018 (group of 2             VA 2-304-928      06/03/2022         2C
                                                               6
                                                                    photographs)
                                                               7
                                                                    StripHair Product Pictures 2021 (group of 8             VA 2-304-931      06/03/2022         2D
                                                               8    photographs)
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                                                               9
                                                              10          47.     Plaintiff’s videos are duly registered with the Register of Copyrights as entire motion

                                                              11 pictures as shown in the table below. True and correct copies of the Certificates of Registration are
                                                              12 attached hereto as Composite Exhibit 3.
                                                              13
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                                                              14             Copyright Title and Description                   Reg. No.         Reg. Date      Exhibit

                                                              15    SH-Video-1 11.01.2019 (entire motion picture)           PAu 4-142-655      06/14/2022        3A
                                                              16    SH-Video-2 4-01-2021 (entire motion picture)            PAu 4-142-666      06/14/2022        3B
                                                              17
                                                                    SH-Video-3 7.01.2021 (entire motion picture)            PAu 4-143-928      06/30/2022        3C
                                                              18
                                                                    SH-Video-4 4.01.2018 (entire motion picture)            PAu 4-143-929      06/30/2022        3D
                                                              19
                                                                    SH-Video-5 3.01.2019 (entire motion picture)            PAu 4-145-045      07/14/2022        3E
                                                              20
                                                              21    SH-Video-7 6.01.2020 (entire motion picture)            PAu 4-145-360      07/19/2022        3F

                                                              22    SH-Video-8 5.01.2021 (entire motion picture)            PAu 4-145-361      07/19/2022        3G

                                                              23    SH-Video-6 2.01.2019 (entire motion picture)            PAu 4-145-379      07/19/2022        3H
                                                              24
                                                                          48.     Plaintiff’s website content comprising photographs and text, titled “striphair.com
                                                              25
                                                                   website” is duly registered with the Register of Copyrights under the Registration No. VA 2-271-
                                                              26
                                                                   013, effective October 6, 2021. A true and correct copy of the Certificate of Registration and the
                                                              27
                                                                   content it applies to is attached hereto as Exhibit 4.
                                                              28



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                                                               1          49.     The copyrighted photographs, videos, and the website content claimed as
                                                               2 copyrightable subject matter show Plaintiff’s high-quality and unique patented grooming tools’
                                                               3 design features, its packaging, and its use on horses and pets from different perspectives.
                                                               4          50.     Genuine grooming tools bearing or sold under the Betty's Best Marks are widely
                                                               5 legitimately advertised and promoted by Plaintiff and its authorized distributors using Plaintiff’s
                                                               6 copyrighted photographs, videos, and through its website content.
                                                               7          51.     Plaintiff has never granted authorization to anyone to advertise, market, or promote
                                                               8 unauthorized goods using Plaintiff’s copyrighted photographs, videos, or website content.
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                                                               9          52.     Plaintiff’s grooming tools’ design features are protected under a design patent and
                                                              10 registered with the United Stated Patent and Trademark Office under U.S. Patent No. D841,900 S
                                                              11 titled “HORSE OR PET GROOMING TOOL”. A true and correct copy of U.S. Design Patent
                                                              12 Registration is attached hereto as Exhibit 5 (the “HOPGT Design Patent”).
                                                              13          53.     The HOPGT Design Patent relates to the ornamental design for a horse or pet
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                                                              14 grooming tool as shown and described through four figures corresponding and ordering in front, top,
                                                              15 bottom and side views, in which the rear view of the design is identical to the front view and both
                                                              16 side views are identical each other.
                                                              17          54.     The HOPGT Design Patent was registered on February 26, 2019, has not expired, and
                                                              18 is valid.
                                                              19          55.     Plaintiff marked its products with a Patent Notice.
                                                              20          56.     Plaintiff has never granted authorization to anyone to import, make, use, or sell
                                                              21 unauthorized goods using the HOPGT Design Patent.
                                                              22                            META PLATFORMS, INC. AND FACEBOOK
                                                              23          57.     Meta operates the social media network website Facebook. Facebook earns revenue
                                                              24 from advertising. Facebook sells, publishes and displays millions of ads each day.
                                                              25          58.     An internal Facebook report from November 2018 identified that 40 percent of its
                                                              26 pages traffic directed users to pages that stole or recycled most of their content including for the sale
                                                              27 of counterfeit products. See Keith Hagey, Facebook Allows Stolen Content to Flourish, Its
                                                              28 Researchers Warned, THE WALL STREET JOURNAL (Nov. 9, 2018, 4:43 PM ET),



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                                                               1 https://www.wsj.com/articles/facebook-stolen-content-copyright-infringement-facebook-files-
                                                               2 11636493887. In March of 2023, the Federal Trade Commission issued orders to eight social media
                                                               3 and video streaming platforms including Facebook seeking information on how these companies
                                                               4 scrutinize and restrict paid commercial advertising that is deceptive or exposes consumers to
                                                               5 fraudulent products and counterfeit and fake goods. See FTC Issues Orders to Social Media and
                                                               6 Video Streaming Platforms Regarding Efforts to Address Surge in Advertising for Fraudulent
                                                               7 Products and Scams | Federal Trade Commission. https://www.ftc.gov/news-events/news/press-
                                                               8 releases/2023/03/ftc-issues-orders-social-media-video-streaming-platforms-regarding-efforts-
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                                                               9 address-surge-advertising.
                                                              10                                             DEFENDANTS
                                                              11          59.     Defendants have the capacity to be sued pursuant to Federal Rule of Civil Procedure
                                                              12 17(b).
                                                              13          60.     Defendants are individuals and/or business entities of unknown makeup, each of
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                                                              14 whom, upon information and belief, either reside and/or operate in foreign jurisdictions, redistribute
                                                              15 products from the same or similar sources in those locations, and/or ship their goods from the same
                                                              16 or similar sources in those locations to shipping and fulfillment centers within the United States to
                                                              17 redistribute their products from those locations.
                                                              18          61.     Defendants target their business activities toward consumers throughout the United
                                                              19 States, including within this district, through the simultaneous operation of commercial Internet
                                                              20 based e-commerce stores via the Internet.
                                                              21          62.     Defendants are Facebook Advertisers who use Facebook to display, publish,
                                                              22 communicate advertising using Plaintiff’s intellectual property to direct Facebook users to purchase
                                                              23 counterfeit goods from defendants’ ecommerce internet websites.
                                                              24          63.     The defendants use Facebook to conduct e-commerce scams where they steal images
                                                              25 of Plaintiff’s product from Plaintiff’s website and social media accounts and use those images to
                                                              26 advertise counterfeit products for sale in Facebook advertisements as their own, often for a heavily
                                                              27 discounted price. This directly infringes the exclusive rights held by Plaintiff and unfairly competes
                                                              28 with Plaintiff. The defendants use the Facebook Ad Platform to display their ads to interested



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                                                               1 consumers. Defendants use Facebook to connect and advertise to Facebook users based upon the
                                                               2 users’ interests, certain statistics and user preferences.
                                                               3          64.     If a Facebook user makes a purchase through an advertisement posted by a defendant
                                                               4 or from the defendant’s linked website, the buyer receives a cheap knockoff of Plaintiff’s product, or
                                                               5 nothing at all. The buyer pays for a product that they never receive, suffering damages. The Plaintiff
                                                               6 has its intellectual property rights violated, loses out on sales, and the defendants cause irreparable
                                                               7 damage to Plaintiff’s integrity and reputation.
                                                               8          65.     The stolen and infringing images defendants show on Facebook advertising unfairly
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                                                               9 compete with Plaintiff.
                                                              10          66.     Defendants are the past and present controlling forces behind the advertising and sale
                                                              11 of products bearing counterfeits and infringements of Plaintiff’s intellectual property rights as
                                                              12 described herein.
                                                              13          67.     Defendants directly engage in unfair competition with Plaintiff by advertising,
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                                                              14 offering for sale, and selling goods bearing counterfeits and infringements of Plaintiff’s intellectual
                                                              15 property rights to consumers within the United States and this district through Internet based e-
                                                              16 commerce stores.
                                                              17          68.     Defendants have purposefully directed some portion of their illegal activities towards
                                                              18 consumers in the state of California through the advertisement, offer to sell, sale, and/or shipment of
                                                              19 counterfeit and infringing goods into the State.
                                                              20          69.     Defendants use advertising on social media that links to Internet based e-commerce
                                                              21 stores. Defendants use sophisticated advertising practices and tools to generate multiple ad versions
                                                              22 using Betty's Best Marks, the copyrighted Works, and the HOPGT Design Patent to imitate the
                                                              23 StripHair brand and deceive the consumer to purchase counterfeit products from ad-linked website
                                                              24 pages.
                                                              25          70.     Defendants use their Facebook pages and Internet based e-commerce stores to
                                                              26 infringe the intellectual property rights of Plaintiff and others.
                                                              27          71.     Defendants’ Facebook pages and Internet based e-commerce stores used in
                                                              28 connection with the sale of counterfeits and infringements of Plaintiff’s intellectual property rights



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                                                               1 are essential components of Defendants’ online activities and are one of the means by which
                                                               2 Defendants further their counterfeiting and infringement scheme and cause harm to Plaintiff.
                                                               3            72.    The appearance of Defendants’ Facebook pages and Internet based e-commerce
                                                               4 stores in search engine results undermines Plaintiff’s efforts to educate consumers about the value of
                                                               5 products sold under the Betty’s Best Marks
                                                               6            73.    Defendants are using counterfeits and infringements of Plaintiff’s intellectual
                                                               7 property rights to drive Internet consumer traffic to their Facebook pages and Internet based e-
                                                               8 commerce stores thereby increasing the value of their Facebook pages and Internet based e-
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                                                               9 commerce stores and decreasing the size and value of Plaintiff’s legitimate marketplace and
                                                              10 intellectual property rights at Plaintiff’s expense.
                                                              11           74.     Since 2021, Plaintiff has searched out, observed, and recorded the defendants’ use of
                                                              12 fraudulent advertisements on Facebook. The defendants use software to create advertising that they
                                                              13 place on Facebook with links to their websites in order to direct purchasers to buy counterfeit
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                                                              14 products.
                                                              15           75.     Defendants use software to alter Betty’s Best photographs to create paid sponsored
                                                              16 advertisements within a Facebook account that contain links to associated website pages with active
                                                              17 shopping buttons. The advertisements copy Betty’s Best Marks, the copyrighted Works and the
                                                              18 HOPGT Design Patent. When a Facebook Ad is created, it is given a unique Facebook Ad Library
                                                              19 ID number. Betty’s Best has identified and tracked these infringing Facebook Ads in the online
                                                              20 Facebook Ads Library1.
                                                              21           76.     For two years, Plaintiff’s employees or persons acting under their direction have
                                                              22 searched Facebook Ads publicly available in the online Ads Library for specific terms that are
                                                              23 common to Plaintiff and used by counterfeiters to drive purchasers to buy counterfeit goods. When
                                                              24 Plaintiff discovered a Facebook Ad that used Betty's Best Marks, the copyrighted Works, and the
                                                              25 HOPGT Design Patent, Betty’s Best submitted IP infringement reports for each advertisement to
                                                              26 Facebook. To date, Plaintiff has submitted over 3,512 IP Infringement Reports to Facebook. A list
                                                              27
                                                              28
                                                                   1
                                                                       See https://www.facebook.com/ads/library.


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                                                               1 documenting all the IP infringement reports submitted by Betty's Best to Facebook is attached as
                                                               2 Schedule “A” to the Declaration of Sarah M. Owen in support of Plaintiff’s Ex Parte Motion for
                                                               3 Temporary Restraining Order and Asset Freeze.
                                                               4         77.      Despite Plaintiff’s submission of over 3,512 IP infringement reports to Facebook, the
                                                               5 defendants continue to purchase Facebook Ads to promote the sale of counterfeits of Plaintiff’s
                                                               6 products. All of the defendants’ Facebook pages contain counterfeits of the Betty's Best Marks, the
                                                               7 copyrighted Works, and the HOPGT Design Patent, or they link to other websites that contain
                                                               8 counterfeits of the Betty's Best Marks, the copyrighted Works, and the HOPGT Design Patent. All of
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                                                               9 these Facebook Ads, Facebook Pages, and/or the websites they link to sell and offer to sell
                                                              10 counterfeits of Plaintiff’s products to unwitting consumers.
                                                              11         78.      All of the Facebook pages and Facebook Ads are owned, operated or administered by
                                                              12 the Facebook advertisers identified on Schedule “A” to the Complaint who are located in China and
                                                              13 are using and abusing Betty's Best Marks, the copyrighted Works, and the HOPGT Design Patent to
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                                                              14 sell counterfeit products.
                                                              15         79.      Plaintiff will be unable to stop the counterfeiting of its Betty's Best Marks, the
                                                              16 copyrighted Works, and the HOPGT Design Patent unless the Court grants preliminary injunctive
                                                              17 relief enjoining defendants from further abuse of the Betty's Best Marks, the copyrighted Works, and
                                                              18 the HOPGT Design Patent.
                                                              19          80.     Defendants, through the sale and offer to sell counterfeit and infringing products, are
                                                              20 directly, and unfairly, competing with Plaintiff’s economic interests in the state of California and
                                                              21 causing Plaintiff harm and damage within this jurisdiction.
                                                              22          81.     The natural and intended byproduct of Defendants’ actions is the erosion and
                                                              23 destruction of the goodwill associated with Plaintiffs’ intellectual property rights and the destruction
                                                              24 of the legitimate market sector in which it operates.
                                                              25          82.     Defendants had actual or constructive knowledge of Plaintiff’s intellectual property
                                                              26 rights, including Plaintiff’s exclusive right to use and license such intellectual property rights.
                                                              27          83.     Defendants have never been licensed to use Plaintiff’s intellectual property rights.
                                                              28



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                                                               1                   COUNT I - TRADEMARK INFRINGEMENT (15 U.S.C. § 1114)
                                                               2          84.     Plaintiff incorporates the allegations of paragraphs 1 through 83 of this Complaint as
                                                               3 if fully set forth herein.
                                                               4          85.     This is an action for trademark counterfeiting and infringement against Defendants
                                                               5 based on their use of counterfeit and confusingly similar imitations of one or more of the Betty’s
                                                               6 Best Marks in commerce in connection with the promotion, advertisement, distribution, offering for
                                                               7 sale and sale of the Counterfeit Goods.
                                                               8          86.     Defendants are promoting and otherwise advertising, selling, offering for sale, and
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                                                               9 distributing goods bearing and/or using counterfeits and/or infringements of one or more of the
                                                              10 Betty’s Best Marks.
                                                              11          87.     Defendants are continuously infringing and inducing others to infringe one or more of
                                                              12 the Betty’s Best Marks by using it to advertise, promote, sell, and offer to sell counterfeit and
                                                              13 infringing goods.
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                                                              14          88.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause and
                                                              15 actually are causing confusion, mistake, and deception among members of the trade and the general
                                                              16 consuming public as to the origin and quality of Defendants’ Counterfeit Goods.
                                                              17          89.     Defendants’ unlawful actions have caused and are continuing to cause unquantifiable
                                                              18 damages to Plaintiff and are unjustly enriching Defendants with profits at Plaintiff’s expense.
                                                              19          90.     Defendants’ above-described illegal actions constitute counterfeiting and
                                                              20 infringement of one or more of the Betty’s Best Marks in violation of Plaintiff’s rights under § 32 of
                                                              21 the Lanham Act, 15 U.S.C. § 1114.
                                                              22          91.     Plaintiff has suffered and will continue to suffer irreparable injury and damages due
                                                              23 to Defendants’ above-described activities if Defendants are not preliminarily and permanently
                                                              24 enjoined.
                                                              25          92.     If not preliminarily and permanently enjoined, Defendants will continue to
                                                              26 wrongfully profit from their illegal activities.
                                                              27          93.     Plaintiff has been damaged.
                                                              28          94.     The harm caused to Plaintiff is irreparable.



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                                                               1                 COUNT II - FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))
                                                               2          95.      Plaintiff incorporates the allegations of paragraphs 1 through 83 of this Complaint as
                                                               3 if fully set forth herein.
                                                               4          96.      Upon information and belief, Defendants’ Counterfeit Goods bearing, offered for sale
                                                               5 and sold using copies of one or more of the Betty’s Best Marks have been widely advertised and
                                                               6 offered for sale throughout the United States via at least one Internet marketplace website.
                                                               7          97.      Defendants’ Counterfeit Goods bearing, offered for sale, and sold using copies of one
                                                               8 or more of the Betty’s Best Marks are virtually identical in appearance to Plaintiff’s genuine goods.
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                                                               9          98.      Defendants’ Counterfeit Goods are different in quality from Plaintiff’s goods, and are
                                                              10 of much lower quality.
                                                              11          99.      Defendants’ activities are likely to cause confusion in the trade and among the
                                                              12 general public as to at least the origin or sponsorship of their Counterfeit Goods.
                                                              13          100.     Defendants, upon information and belief, have used in connection with their
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                                                              14 advertisement, offer for sale, and sale of their Counterfeit Goods, false designations of origin and
                                                              15 false descriptions and representations, including words or other symbols and trade dress, which tend
                                                              16 to falsely describe or represent such goods and have caused such goods to enter into commerce with
                                                              17 full knowledge of the falsity of such designations of origin and such descriptions and
                                                              18 representations, all to Plaintiff’s detriment.
                                                              19          101.     Defendants have authorized infringing uses of one or more of the Betty’s Best Marks
                                                              20 in Defendants’ advertisement and promotion of their counterfeit and infringing branded goods.
                                                              21          102.     Defendants have misrepresented to members of the consuming public that the
                                                              22 Counterfeit Goods being advertised and sold by them are genuine, non-infringing goods.
                                                              23          103.     Defendants are using counterfeits and infringements of one or more of the Betty’s
                                                              24 Best Marks in order to unfairly compete with Plaintiff and others for space within organic search
                                                              25 engine results and social media results, thereby jointly depriving Plaintiff of a valuable marketing
                                                              26 and educational tool which would otherwise be available to Plaintiff and reducing the visibility of
                                                              27 Plaintiff’s genuine goods on the internet and across social media platforms.
                                                              28



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                                                               1          104.    Defendants’ above-described actions are in violation of Section 43(a) of the Lanham
                                                               2 Act, 15 U.S.C. §1125(a).
                                                               3          105.    Plaintiff has no adequate remedy at law and has sustained indivisible injury and
                                                               4 damage caused by Defendants’ concurrent conduct.
                                                               5          106.    Absent an entry of an injunction by this Court, Defendants will continue to
                                                               6 wrongfully reap profits and Plaintiff will continue to suffer irreparable injury to its goodwill and
                                                               7 business reputation, as well as monetary damages.
                                                               8          107.    Defendants are liable for any damages, including costs and attorneys’ fees, incurred
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                                                               9 by Plaintiff.
                                                              10          108.    The harm caused to Plaintiff has been irreparable.
                                                              11                      COUNT III - COMMON LAW UNFAIR COMPETITION
                                                              12          109.     Plaintiff incorporates the allegations of paragraphs 1 through 83 of this Complaint as
                                                              13 if fully set forth herein.
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                                                              14          110.     This is an action against Defendants based on their promotion, advertisement,
                                                              15 distribution, sale and/or offering for sale of goods bearing marks that are virtually identical to one or
                                                              16 more of the Betty’s Best Marks in violation of California’s common law of unfair competition.
                                                              17          111.    Defendants’ activities complained of herein constitute unfair methods of competition.
                                                              18          112.    Specifically, Defendants are promoting and otherwise advertising, selling, offering
                                                              19 for sale and distributing goods using or bearing counterfeits and infringements of one or more of the
                                                              20 Betty’s Best Marks.
                                                              21          113.    Defendants are also using counterfeits and infringements of one or more of the
                                                              22 Betty’s Best Marks to unfairly compete with Plaintiff and others for (1) space in search engine and
                                                              23 social media results across an array of search terms and (2) visibility on the Internet.
                                                              24          114.    Defendants’ infringing activities are likely to cause and actually are causing
                                                              25 confusion, mistake and deception among members of the trade and the general consuming public as
                                                              26 to the origin and quality of Defendants’ e-commerce stores as a whole and all products sold therein
                                                              27 by their use of one or more of the Betty’s Best Marks.
                                                              28



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                                                               1           115.    Plaintiff has no adequate remedy at law and is suffering irreparable injury and
                                                               2 damages as a result of Defendants’ actions.
                                                               3           116.    Plaintiff has been damaged.
                                                               4          The harm caused to Plaintiff has been irreparable.
                                                                        COUNT IV - UNFAIR COMPETITION UNDER CALIFORNIA STATUTORY LAW
                                                               5
                                                                                              (Cal. Bus. & Prof. Codes § 17200, et seq.)
                                                               6
                                                                           117.    Plaintiff incorporates the allegations of paragraphs 1 through 83 of this Complaint as
                                                               7
                                                                   if fully set forth herein.
                                                               8
                                                                           118.    This is an action for statutory unfair competition against Defendants based on their
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                                                               9
                                                                   promotion, advertisement, offering for sale, and sale of their Counterfeit Goods bearing or sold
                                                              10
                                                                   under one or more of the Betty’s Best Marks.
                                                              11
                                                                           119.    Plaintiff is the owner of all common law rights in and to the Betty’s Best Marks.
                                                              12
                                                                           120.    Defendants’ activities complained of herein constitute unfair methods of competition
                                                              13
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                                                                   in violation of California’s Business and Professions Codes §17200.
                                                              14
                                                                           121.    Specifically, Defendants are promoting and otherwise advertising, selling, offering
                                                              15
                                                                   for sale, and distributing goods using or bearing counterfeits and infringements of one or more of the
                                                              16
                                                                   Betty’s Best Marks.
                                                              17
                                                                           122.    Defendants are also using counterfeits and infringements of one or more of the
                                                              18
                                                                   Betty’s Best Marks to unfairly compete with Plaintiff.
                                                              19
                                                                           123.    Defendants’ infringing activities are likely to cause and actually are causing
                                                              20
                                                                   confusion, mistake and deception among members of the trade and the general consuming public as
                                                              21
                                                                   to the origin and quality of Defendants’ e-commerce stores as a whole and all products sold therein
                                                              22
                                                                   by their use of one or more of the Betty’s Best Marks.
                                                              23
                                                                           124.    Plaintiff has no adequate remedy at law and is suffering irreparable injury and
                                                              24
                                                                   damages as a result of Defendants’ actions.
                                                              25
                                                                           125.    Plaintiff has been damaged.
                                                              26
                                                                           126.    The harm caused to Plaintiff has been irreparable.
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                                                               1                              COUNT V - COPYRIGHT INFRINGEMENT
                                                               2          127.     Plaintiff incorporates the allegations of paragraphs 1 through 83 of this Complaint as
                                                               3 if fully set forth herein.
                                                               4          128.    Plaintiff has complied in all respects with the Copyright Act of the United States and
                                                               5 all other laws governing copyright and secured the exclusive rights and privileges in and to the
                                                               6 copyrights at issue in this action.
                                                               7          129.    Pursuant to 17 U.S.C. § 411 (a), Plaintiff registered its copyrights for its advertising
                                                               8 and marketing photographs, videos, and website content.
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                                                               9          130.    Defendants directly infringed Plaintiff’s exclusive rights in its copyright registered
                                                              10 advertising and marketing photographs, videos, and website content under 17 U.S.C. § 106.
                                                              11          131.    Defendants copied, displayed, and distributed Plaintiff’s copyrighted Works and/or
                                                              12 prepared derivative works based upon Plaintiff’s copyrighted Works in violation of Plaintiff’s
                                                              13 exclusive rights under 17 U.S.C. §106(1), (2) and/or (5).
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                                                              14          132.    Defendants’ conduct constitutes willful and direct copyright infringement of
                                                              15 Plaintiff’s copyrighted Works.
                                                              16          133.    Defendants profited from the direct infringement of the exclusive rights of Plaintiff in
                                                              17 the Works at issue in this case under the Copyright Act.
                                                              18          134.    Defendants’ infringement is not limited to the copyright infringement listed above.
                                                              19 Plaintiff will identify such additional infringement after discovery.
                                                              20          135.    On information and belief, there is a business practice of infringement by Defendants.
                                                              21          136.    Defendants routinely and intentionally infringe the intellectual property rights of
                                                              22 others, including but not limited to, acting with willful blindness and/or reckless disregard.
                                                              23          137.    Plaintiff has been damaged by the infringement.
                                                              24          138.    The harm to Plaintiff is irreparable.
                                                              25          139.    Plaintiff is entitled to temporary and permanent injunctive relief from Defendants’
                                                              26 willful infringement.
                                                              27          140.    Plaintiff is entitled to recover its actual damages and/or statutory damages, at its
                                                              28 election.



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                                                               1           141.   Plaintiff is entitled to recover its reasonable costs and attorneys’ fees incurred in this
                                                               2 action.
                                                               3                               COUNT VI - PATENT INFRINGEMENT
                                                               4           142.    Plaintiff incorporates the allegations of paragraphs 1 through 83 of this Complaint as
                                                               5 if fully set forth herein.
                                                               6           143.   Plaintiff has the exclusive rights on Design Patent U.S. D841,900 S, claiming the
                                                               7 design features of its grooming tools.
                                                               8           144.   Defendants have infringed and continue to infringe the HOPGT Design Patent either
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                                                               9 directly or indirectly through acts of contributory infringement or inducement in violation of 35
                                                              10 U.S.C. § 271, by making, using, selling, importing and/or offering to sell infringing products,
                                                              11 namely the infringing and counterfeit products sold under one or more of the Betty’s Best Marks.
                                                              12           145.   Defendants infringing and counterfeit products sold under one or more of the Betty’s
                                                              13 Best Marks are the same in all material respects.
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                                                              14           146.   Defendants’ infringement, contributory infringement and/or inducement to infringe
                                                              15 has injured Plaintiff and it, therefore, is entitled to recover damages adequate to compensate it for
                                                              16 such infringement, but in no event less than a reasonable royalty.
                                                              17           147.   Defendants’ infringement, contributory infringement and/or inducement to infringe
                                                              18 has been willful and deliberate because Defendants have notice of or knew of the HOPGT Design
                                                              19 Patent and have nonetheless injured and will continue to injure Plaintiff, unless and until this Court
                                                              20 enters an injunction, which prohibits further infringement and specifically enjoins further
                                                              21 manufacture, use, sale, importation and/or offer for sale of products that come within the scope of
                                                              22 the HOPGT Design Patent.
                                                              23           WHEREFORE, Plaintiff prays for judgment against the defendants that:
                                                              24           A.     Entry of temporary, preliminary, and permanent injunctions pursuant to 15 U.S.C. §
                                                              25 1116 and Federal Rule of Civil Procedure 65 enjoining Defendants, their agents, representatives,
                                                              26 servants, employees, and all those acting in concert or participation therewith, from manufacturing
                                                              27 or causing to be manufactured, importing, advertising or promoting, distributing, selling or offering
                                                              28 to sell their Counterfeit Goods; from infringing, counterfeiting, or diluting the Betty’s Best Marks;



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                                                               1 from using the Betty’s Best Marks, or any mark or design similar thereto, in connection with the sale
                                                               2 of any unauthorized goods; from using any logo, trade name or trademark or design that may be
                                                               3 calculated to falsely advertise the services or goods of Defendants as being sponsored by, authorized
                                                               4 by, endorsed by, or in any way associated with Plaintiff; from falsely representing themselves as
                                                               5 being connected with Plaintiff , through sponsorship or association, or engaging in any act that is
                                                               6 likely to falsely cause members of the trade and/or of the purchasing public to believe any goods or
                                                               7 services of defendants, are in any way endorsed by, approved by, and/or associated with Plaintiff;
                                                               8 from using any reproduction, counterfeit, infringement, copy, or colorable imitation of the Betty’s
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                                                               9 Best Marks in connection with the publicity, promotion, sale, or advertising of any goods sold by
                                                              10 Defendants; from affixing, applying, annexing or using in connection with the sale of any goods, a
                                                              11 false description or representation, including words or other symbols tending to falsely describe or
                                                              12 represent Defendants’ goods as being those of Plaintiff, or in any way endorsed by Plaintiff and from
                                                              13 offering such goods in commerce; from engaging in search engine optimization strategies using
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                                                              14 colorable imitations of Plaintiff’s name or trademarks and from otherwise unfairly competing with
                                                              15 Plaintiff; from copying, displaying, distributing or creating derivative works of Plaintiff’s
                                                              16 copyrighted Works.
                                                              17          B.      Entry of a Temporary Restraining Order, as well as preliminary and permanent
                                                              18 injunctions pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the Court’s inherent authority,
                                                              19 enjoining Defendants and all third parties with actual notice of the injunction issued by this Court
                                                              20 from participating in, including providing financial services, technical services or other support to,
                                                              21 Defendants in connection with the sale and distribution of non-genuine goods bearing and/or using
                                                              22 counterfeits of the Betty’s Best Marks, that copy, display, distribute or use derivative works of
                                                              23 Plaintiff’s copyrighted Works.
                                                              24          C.      Entry of an order authorizing seizure, impoundment and/or destruction of all of the
                                                              25 products used to perpetrate the infringing acts pursuant to 17 U.S.C. § 503.
                                                              26          D.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the
                                                              27 Court’s inherent authority that, upon Plaintiff’s request, the applicable governing Internet
                                                              28 marketplace website operators and/or administrators for the Seller IDs who are provided with notice



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                                                               1 of an injunction issued by this Court disable and/or cease facilitating access to the Seller IDs and any
                                                               2 other alias seller identification names being used and/or controlled by defendants to engage in the
                                                               3 business of marketing, offering to sell, and/or selling goods bearing counterfeits and infringements
                                                               4 of the Betty’s Best Marks.
                                                               5          E.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and this
                                                               6 Court’s inherent authority that, upon Plaintiff’s request, any messaging service and Internet
                                                               7 marketplace website operators, administrators, registrar and/or top level domain (TLD) registry for
                                                               8 the Seller IDs who are provided with notice of an injunction issued by this Court identify any e-mail
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                                                               9 address known to be associated with Defendants’ respective Seller IDs.
                                                              10          F.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and this
                                                              11 Court’s inherent authority that upon Plaintiff’s request, any Internet marketplace website operators
                                                              12 and/or administrators who are provided with notice of an injunction issued by this Court
                                                              13 permanently remove from the multiple platforms, which include, inter alia, a direct platform, group
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                                                              14 platform, seller product management platform, vendor product management platform, and brand
                                                              15 registry platform, any and all listings and associated images of goods bearing counterfeits and/or
                                                              16 infringements of the Betty’s Best Marks via the e-commerce stores operating under the Seller IDs,
                                                              17 including but not limited to the listings and associated images identified by the “parent” and/or
                                                              18 “child” Amazon Standard Identification Numbers (“ASIN”) on Schedule “A” annexed hereto, and
                                                              19 upon Plaintiff’s request, any other listings and images of goods bearing counterfeits and/or
                                                              20 infringements of the Betty’s Best Marks associated with any ASIN linked to the same sellers or
                                                              21 linked to any other alias seller identification names being used and/or controlled by Defendants to
                                                              22 promote, offer for sale and/or sell goods bearing and/or using counterfeits and/or infringements of
                                                              23 the Betty’s Best Marks.
                                                              24          G.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act and this Court’s
                                                              25 inherent authority that, upon Plaintiff’s request, Defendants and any Internet marketplace website
                                                              26 operators and/or administrators who are provided with notice of an injunction issued by this Court
                                                              27 immediately cease fulfillment of and sequester all goods of each Defendant bearing the Betty’s Best
                                                              28 Marks in its inventory, possession, custody, or control, and surrender those goods to Plaintiff.



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                                                               1          H.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and this
                                                               2 Court’s inherent authority that Facebook (and its parent company Meta), and all online shopping cart
                                                               3 software providers the Defendants are using to advertise, promote and sell their counterfeit goods,
                                                               4 shall immediately (i) identify all financial accounts and subaccounts associated with the Defendants
                                                               5 and the Facebook Advertisers listed in Schedule “A” to the Complaint; (ii) identify all Seller IDs,
                                                               6 store numbers, infringing product numbers, and/or the e-mail addresses corresponding to each one of
                                                               7 the Facebook Advertisers listed on Schedule “A” to the Complaint; (iii) restrain the transfer of all
                                                               8 funds of said Facebook Advertisers, as opposed to ongoing account activity, held or received for
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                                                               9 their benefit or to be transferred into their respective financial accounts, and any other financial
                                                              10 accounts tied thereto; (iv) immediately divert those restrained funds to a holding account for the trust
                                                              11 of the Court; (v) provide Plaintiff’s counsel the complete contact information including email
                                                              12 addresses, links and/or any other data serving as identifiers, associated with each Facebook
                                                              13 Advertiser; (vi) remove all Facebook Ads using the Betty's Best Marks, the copyrighted Works, and
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                                                              14 the HOPGT Design Patent to promote the sale of counterfeit Betty’s Best products; and (vii) during
                                                              15 the pendency of this case, prohibit the Facebook Advertisers listed on Schedule “A” to the
                                                              16 Complaint from posting advertisements on Facebook that use the Betty's Best Marks, the
                                                              17 copyrighted Works, and the HOPGT Design Patent, or any colorable imitations thereof.
                                                              18          I.      Entry of an Order requiring Defendants to correct any erroneous impression the
                                                              19 consuming public may have derived concerning the nature, characteristics, or qualities of their
                                                              20 products, including without limitation, the placement of corrective advertising and providing written
                                                              21 notice to the public.
                                                              22          J.      Entry of an Order requiring Defendants to account to and pay Plaintiff for all profits
                                                              23 and damages resulting from Defendants’ trademark counterfeiting and infringing and unfairly
                                                              24 competitive activities and that the award to Plaintiff be trebled, as provided for under 15 U.S.C.§
                                                              25 1117, or, at Plaintiff’s election with respect to Count I, that Plaintiff be awarded statutory damages
                                                              26 from each Defendant in the amount of two million dollars ($2,000,000.00) per each counterfeit
                                                              27 trademark used and product sold, as provided by 15 U.S.C. § 1117(c)(2) of the Lanham Act.
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                                                               1          K.      Entry of an Order requiring Defendant to account to and pay Plaintiff for all profits
                                                               2 and damages resulting from Defendant’s copyright infringement, or statutory damages (at Plaintiff’s
                                                               3 election), for all infringements involved in the action, with respect to any one work, for which
                                                               4 Defendant is liable in a sum of not less than $750 or more than $30,000 as the Court considers just
                                                               5 pursuant to 17 U.S.C. § 504(c)(1), or to the extent the Court finds that infringement was committed
                                                               6 willfully, an award of statutory damages to a sum of not more than $150,000 per violation, pursuant
                                                               7 to 17 U.S.C. § 504(c)(2).
                                                               8          L.      Entry of an Order requiring Defendant to account to and pay Plaintiff damages for
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                                                               9 patent infringement in an amount to be determined by the Court pursuant to 35 U.S.C. § 284 which
                                                              10 shall in no event be less than a reasonable royalty.
                                                              11          M.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiff’s costs and
                                                              12 reasonable attorneys’ fees and investigative fees, associated with bringing this action, including the
                                                              13 cost of corrective advertising.
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                                                              14          N.      Entry of an Order that, upon Plaintiff’s request, Defendants and any financial
                                                              15 institutions, payment processors, banks, escrow services, money transmitters, or marketplace
                                                              16 platforms, and their related companies and affiliates, identify and restrain all funds, up to and
                                                              17 including the total amount of judgment, in all financial accounts and/or sub-accounts used in
                                                              18 connection with the Seller IDs, or other alias seller identification or e-commerce store names used by
                                                              19 Defendants presently or in the future, as well as any other related accounts of the same customer(s)
                                                              20 and any other accounts which transfer funds into the same financial institution account(s) and remain
                                                              21 restrained until such funds are surrendered to Plaintiff in partial satisfaction of the monetary
                                                              22 judgment entered herein.
                                                              23          O.      Entry of an award of pre-judgment interest on the judgment amount.
                                                              24          P.      Entry of an Order for any further relief as the Court may deem just and proper.
                                                              25                                             JURY DEMAND
                                                              26          Plaintiff hereby demands a trial by jury of all issues so triable.
                                                              27
                                                                   DATED: September 13, 2023                     Respectfully submitted,
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                                                                                                                 /s/ Matthew L. Rollin


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                                                                                                               MATTHEW L. ROLLIN
                                                               1
                                                                                                               SRIPLAW, P.A.
                                                               2                                               Counsel for Plaintiff Betty’s Best, Inc.

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